Case 19-21395   Doc 10   Filed 07/31/19 Entered 07/31/19 13:39:44   Desc Main
                           Document     Page 1 of 8
Case 19-21395   Doc 10   Filed 07/31/19 Entered 07/31/19 13:39:44   Desc Main
                           Document     Page 2 of 8
Case 19-21395   Doc 10   Filed 07/31/19 Entered 07/31/19 13:39:44   Desc Main
                           Document     Page 3 of 8
Case 19-21395   Doc 10   Filed 07/31/19 Entered 07/31/19 13:39:44   Desc Main
                           Document     Page 4 of 8
Case 19-21395   Doc 10   Filed 07/31/19 Entered 07/31/19 13:39:44   Desc Main
                           Document     Page 5 of 8
Case 19-21395   Doc 10   Filed 07/31/19 Entered 07/31/19 13:39:44   Desc Main
                           Document     Page 6 of 8
Case 19-21395   Doc 10   Filed 07/31/19 Entered 07/31/19 13:39:44   Desc Main
                           Document     Page 7 of 8
Case 19-21395   Doc 10   Filed 07/31/19 Entered 07/31/19 13:39:44   Desc Main
                           Document     Page 8 of 8
